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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
       v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.




             CURLING PLAINTIFFS’ PROPOSED PROTOCOL
                  FOR SOURCE CODE INSPECTION

      Pursuant to the Court’s December 13, 2023 Sealed Order Plaintiffs submit

the following proposed protocol for inspection of the vote-changing software

developed by Drs. Alex Halderman and Drew Springall and discussed in Dr.

Halderman’s July 2021 Expert Report. If the Court orders inspection of that

software, the software shall be made available for inspection, in source code form,

only to [SPECIFIC NAME] (“Reviewer”) at a facility of Dr. Halderman’s

choosing located at the University of Michigan in Ann Arbor, Michigan, under the

following conditions:

      1.    The source code files shall be placed on a password-protected laptop

computer (the “Inspection Computer”) in a secure, non-networked, non-Internet-



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accessible environment configured by Dr. Halderman or someone at his direction

for the inspection.

      2.     The Reviewer will be allowed supervised access during regular

business hours, upon 48 hours’ notice, on December 19 or 20, 2023.

      3.     Any inspection by the Reviewer at all times will be supervised by a

Plaintiff representative and videotaped.

      4.     The Reviewer will not be permitted to bring any electronic equipment

of any kind into the inspection review room.

      5.     The Reviewer will not be permitted to introduce any software or files

onto the Inspection Computer.

      6.     The Reviewer will not be permitted to connect any hardware or other

device to the Inspection Computer, whether directly or indirectly.

      7.     The Reviewer will not be permitted to alter, modify, add, or delete

any files on the Inspection Computer, or otherwise copy any files or source code in

any form, including in notes, photographs, recordings, or otherwise, except through

the means provided in the following paragraph.

      8.     The Reviewer may request paper copies of discrete, limited portions

of source code from the Inspection Computer by (i) identifying specific, narrow

portions for Drs. Halderman and Springall; and (ii) showing with specificity how

each requested portion is essential for use at trial. Plaintiffs may object to any such


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request. The Court will resolve any such objections without accessing or

reviewing any of the source code and will order any requested portions of the code

produced only upon Defendants clearly and convincingly establishing that each

requested portion of the code is essential for their defense at trial. Should the

Court find that Defendants met their burden and order any requested source code

produced, Dr. Halderman will provide any such code directly and only to the Court

under seal.

      9.      The Reviewer must make copies of all notes taken during the review

and leave a copy of those notes with Plaintiffs’ representative before leaving the

inspection facility.

      10. Any information derived from the inspection governed by this protocol

shall be Attorney’s Eyes Only, and subject to the protections of the Protective

Order in this case.



      Respectfully submitted this 15th day of December, 2023.

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